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                              EXHIBIT 3
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                                      May 24, 2023

  · · · · · · · · · UNITED STATES DISTRICT COURT
  · · · · · · · · · SOUTHERN DISTRICT OF FLORIDA
  ·
  · · · · · · · ·CASE NO. 21-60125-CIV-SCOLA/GOODMAN
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  · · ·JIANGMEN BENLIDA PRINTED
  · · ·CIRCUIT CO., LTD.,
  ·
  · · · · · · · ·Plaintiff,
  ·
  · · · · · vs.
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  · · ·CIRCUITRONIX, LLC,
  ·
  · · · · · · · ·Defendant.
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  · · · · · · · · · · TRANSCRIPT OF PROCEEDINGS
  · · · · · · · · · · ·DEPOSITION OF WU YUKUN

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  · · · · · · · · · · ·Wednesday, May 24, 2023
  · · · · · · ·One Southeast Third Avenue, Suite 2300
  · · · · · · · · · · · Miami, Florida· 33131
  · · · · · · · · · · · 9:18 a.m. - 7:58 a.m.
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  · · · · · · · · · · · · ·LAUREL A. MAZUR
  · · · · · · · · · Florida Professional Reporter

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  ·1· ·of these paragraphs of the Complaint that says, "To

  ·2· ·date, Circuitronix has paid no portion of the amount

  ·3· ·owed."· Do you see that?

  ·4· · · · A· · Yes.

  ·5· · · · · · ·MR. LERNER:· Can I interject?

  ·6· · · · · · ·MR. ROSENTHAL:· No.· No, you may not.· Do you

  ·7· · · · have an objection?

  ·8· · · · · · ·MR. LERNER:· I want a clarification.

  ·9· · · · · · ·MR. ROSENTHAL:· You may not clarify.· You can

  10· · · · do that on cross.

  11· ·BY MR. ROSENTHAL:

  12· · · · Q· · So all of the allegations from Paragraph 13

  13· ·on Page 6 through -- let's just stop at Paragraph 260

  14· ·on Page 30 -- all of those have that same sentence, "To

  15· ·date, Circuitronix has paid no portion of the amount

  16· ·owed," correct?

  17· · · · A· · Yes.

  18· · · · Q· · Does that mean that Benlida has not received

  19· ·any money from Circuitronix for those invoices to date?

  20· · · · · · ·MR. LERNER:· What date?· The date of the

  21· · · · Complaint or today?

  22· · · · · · ·MR. ROSENTHAL:· The date.· It says "to date".

  23· · · · · · ·THE WITNESS:· It means that we did not

  24· · · · receive the money in May 2020.

  25


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  ·1· ·BY MR. ROSENTHAL:

  ·2· · · · Q· · So when you understand the term "to date",

  ·3· ·you mean as of May 2020?

  ·4· · · · A· · Yes.

  ·5· · · · Q· · But Benlida actually did receive wire

  ·6· ·transfers from Circuitronix periodically, didn't it,

  ·7· ·before May 2020?

  ·8· · · · A· · What kind of wire transfer?

  ·9· · · · Q· · Payments, money, dollars.

  10· · · · A· · We did receive money from them, but it wasn't

  11· ·for those invoices listed.

  12· · · · Q· · So Circuitronix did pay Benlida money through

  13· ·May of 2020, correct?

  14· · · · A· · Yes.

  15· · · · Q· · Did Benlida keep a contemporaneous list of

  16· ·the payments that Circuitronix made to it?

  17· · · · · · ·THE INTERPRETER:· I am sorry.· What list?

  18· ·BY MR. ROSENTHAL:

  19· · · · Q· · Did Benlida keep a contemporaneous list,

  20· ·meaning at the same time, of the payments that Benlida

  21· ·made to it?

  22· · · · A· · Yes.

  23· · · · Q· · Is that in a computer system?

  24· · · · A· · Yes.

  25· · · · Q· · What do you call that computer system at the


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  ·1· ·department, but I wasn't told.

  ·2· · · · Q· · Did you ever have any conversations with

  ·3· ·anybody at Circuitronix in which you told them that

  ·4· ·their payments in 2018 were being applied to the oldest

  ·5· ·outstanding debts in Benlida's records?

  ·6· · · · A· · Is it that me and Circuitronix had a

  ·7· ·conversation?

  ·8· · · · Q· · Correct, that is what I am asking.

  ·9· · · · A· · No.

  10· · · · Q· · Do you know if anybody from Benlida had that

  11· ·conversation with Circuitronix during the period of

  12· ·time before the prepayment started?

  13· · · · A· · I don't know.

  14· · · · Q· · Would that likely have been someone in the

  15· ·sales department?

  16· · · · A· · I don't know.

  17· · · · Q· · So we talked earlier about the fact that the

  18· ·earliest date on the invoice in the Third Amended

  19· ·Complaint as to Circuitronix was December 29, 2018?· Do

  20· ·you remember that?

  21· · · · A· · Yes.

  22· · · · Q· · How much did Benlida's records say that

  23· ·Circuitronix owed Benlida as of that date?

  24· · · · A· · I don't understand your question.

  25· · · · Q· · Okay.· So as of the date on the first invoice


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  ·1· · · · A· · Always -- not before 2014, but always they

  ·2· ·pay together.

  ·3· · · · Q· · Always who paid together?

  ·4· · · · A· · US and Hong Kong.

  ·5· · · · Q· · Are you saying that --

  ·6· · · · A· · US will pay the debt of Hong Kong to Benlida.

  ·7· · · · Q· · That is how they paid?

  ·8· · · · A· · Yes.

  ·9· · · · Q· · So always Circuitronix United States was

  10· ·paying invoices that Benlida sent to Circuitronix Hong

  11· ·Kong?

  12· · · · A· · Yes.

  13· · · · Q· · And how do you know that?

  14· · · · A· · Because we have maybe a notice about that.

  15· · · · Q· · Okay.· And in Benlida's financial department

  16· ·records, did Benlida keep Circuitronix USA and

  17· ·Circuitronix Hong Kong separate?

  18· · · · A· · We have records separate and we have records

  19· ·together, because for the CTX they separate.· So when

  20· ·we doing the reconciliation, we will send separate one

  21· ·to the CTX to -- for them to better understand the

  22· ·difference.

  23· · · · Q· · When you received money paid by Circuitronix

  24· ·USA, did you sometimes apply that money to an invoice

  25· ·that was sent to Circuitronix Hong Kong?


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  ·1· · · · A· · Yes.

  ·2· · · · Q· · In what years?

  ·3· · · · A· · Maybe always.

  ·4· · · · Q· · Maybe always?

  ·5· · · · A· · Yes.

  ·6· · · · Q· · Was there a note in the file or the program

  ·7· ·that said to the people who do the data input that that

  ·8· ·is what they were supposed to do, take the money paid

  ·9· ·by Circuitronix USA and also apply it to invoices that

  10· ·were sent to Circuitronix Hong Kong?

  11· · · · A· · Sorry?

  12· · · · · · ·MR. ROSENTHAL:· Do you remind repeating that

  13· · · · one so that she can translate.

  14· · · · · · ·(The pending question is read

  15· · · · · · · back by the court reporter.)

  16· · · · · · ·(Question interpreted).

  17· · · · · · ·THE WITNESS:· I don't know whether it exist

  18· · · · in paper or not, but that's -- the sales team

  19· · · · tells the financial team to do this, follow this

  20· · · · instruction.

  21· ·BY MR. ROSENTHAL:

  22· · · · Q· · Okay.· So the instructions for how the

  23· ·financial department was supposed to record the

  24· ·payments of Circuit -- received from Circuitronix

  25· ·United States was told by the sales department to the


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  ·1· ·finance department, that instruction?

  ·2· · · · · · ·That was a terribly asked question.· I am

  ·3· ·sorry.· Strike that.· Let me try again.

  ·4· · · · · · ·The sales department at Benlida instructed

  ·5· ·the finance department at Benlida to apply the money

  ·6· ·received from Circuitronix USA to both Circuitronix USA

  ·7· ·invoices and Circuitronix Hong Kong invoices, correct?

  ·8· · · · A· · FIFO, yes.

  ·9· · · · Q· · Yes, with a FIFO methodology?

  10· · · · A· · Yes.

  11· · · · Q· · And to your knowledge, that was throughout

  12· ·the relationship between the companies, that

  13· ·instruction?

  14· · · · · · ·(Question interpreted.)

  15· · · · A· · To my knowledge, yes.

  16· · · · Q· · Okay.· Certainly throughout the time that you

  17· ·have been at the company, correct?

  18· · · · A· · Yes.

  19· · · · Q· · And even to this day, to the present day?

  20· · · · A· · No, present day we use prepayment.

  21· · · · Q· · Okay.· So until the prepayment started?

  22· · · · A· · Yeah, yeah, yeah.

  23· · · · Q· · So let me just give you an example to make

  24· ·sure we are talking very concretely.

  25· · · · · · ·Let's say there is no business at all, we are


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  ·1· · · · A· · Yes.

  ·2· · · · Q· · Okay.· So we now have $300,000 worth of

  ·3· ·invoices from Benlida.

  ·4· · · · A· · Yes.

  ·5· · · · Q· · Now let's say in April, Circuitronix USA

  ·6· ·sends a wire transfer to Benlida for $200,000?

  ·7· · · · A· · Yeah.

  ·8· · · · Q· · What does Benlida do with that money?

  ·9· · · · A· · The first two invoice.

  10· · · · Q· · The first two invoices are to Circuitronix

  11· ·Benlida -- I am sorry -- Circuitronix USA and

  12· ·Circuitronix Hong Kong, correct?

  13· · · · A· · Yes.

  14· · · · Q· · Because those are the earliest two invoices,

  15· ·correct?

  16· · · · A· · Yes.

  17· · · · Q· · Okay.· So the FIFO process that Benlida used

  18· ·to allocate money included both Circuitronix USA and

  19· ·Circuitronix Hong Kong, correct?

  20· · · · A· · Yes.

  21· · · · Q· · You understand that, when you worked in a

  22· ·bank before you joined Benlida, you had to keep

  23· ·different companies' accounts separate, correct, as a

  24· ·general rule, right?

  25· · · · A· · Keep separate?· I don't understand.


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 ·1· · · · A· · Yes.

 ·2· · · · Q· · They kept their records separate, right?

 ·3· · · · A· · Yes.

 ·4· · · · Q· · Yet, when you received money from one

 ·5· ·company, you would use it to pay the oldest debts for

 ·6· ·either company, whichever was oldest, right?

 ·7· · · · A· · Yes.

 ·8· · · · · · ·MR. LERNER:· Okay, question.· Have you

 ·9· · · · completed the corporate rep dep yet?· You have

 10· · · · been going I think more than seven hours --

 11· · · · · · ·MR. ROSENTHAL:· Most of this thing is

 12· · · · corporate rep.

 13· · · · · · ·MR. LERNER:· You have been going well more

 14· · · · than seven hours.

 15· · · · · · ·MR. ROSENTHAL:· I am sure.

 16· · · · · · ·MR. LERNER:· So the rule is seven hours.

 17· · · · · · ·MR. ROSENTHAL:· We have not been keeping

 18· · · · track of the breaks and things like that.· And

 19· · · · turns out that his English is fantastic and we

 20· · · · took twice and long as we needed to for about five

 21· · · · hours.

 22· · · · · · ·MR. LERNER:· His English isn't fantastic, but

 23· · · · it's better than my Chinese.

 24· · · · · · ·MR. ROSENTHAL:· And you speak Chinese,

 25· · · · correct?


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 ·1· ·this way.· You mentioned some time ago that Benlida

 ·2· ·keeps a record -- I think you said two different

 ·3· ·records for Circuitronix; one is with Circuitronix and

 ·4· ·Circuitronix Hong Kong kept separate, and one of them

 ·5· ·is with the two of them combined?

 ·6· · · · A· · Yes.

 ·7· · · · Q· · And what do those records show?· What is it a

 ·8· ·records of; payments, accounts receivable?

 ·9· · · · A· · We just show -- why the separate one?· Why we

 10· ·use the separate one?

 11· · · · Q· · No.· I am asking you what kind of information

 12· ·do those two sets of records record?

 13· · · · · · ·(Question interpreted.)

 14· · · · A· · (Through the interpreter) Invoices and

 15· ·payments.

 16· · · · Q· · So -- and I want to try to use a name to

 17· ·describe this, but when you have the combined document

 18· ·or spreadsheet, what do you refer to it as?· What do

 19· ·you call it?

 20· · · · A· · I don't know how to call it.· It's just

 21· ·something like receivable.

 22· · · · Q· · But it's a receivable for both Circuitronix

 23· ·LLC and Circuitronix Hong Kong?

 24· · · · A· · I don't know exact name of this record, but

 25· ·the meaning of the record is that.


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 ·1· · · · Q· · Is that correct?

 ·2· · · · A· · Yeah.

 ·3· · · · · · ·(Question interpreted.)

 ·4· · · · A· · Yes.

 ·5· · · · Q· · And I am asking you now how early in time --

 ·6· ·how far back did you go to calculate these numbers?

 ·7· · · · A· · From the very beginning of our cooperation.

 ·8· · · · Q· · So what was that date roughly?

 ·9· · · · A· · Maybe some day in 2011.

 10· · · · Q· · Okay.· 2011 through May 31, 2020; is that

 11· ·correct?

 12· · · · A· · Yes.

 13· · · · Q· · In that first box that says Shipment Amount

 14· ·Through Cut-Off Date, that has the figure of

 15· ·$156 million and change.· Do you see that?

 16· · · · A· · One hundred thousand and fifty-six --

 17· · · · Q· · 156,031,184; do you see that?

 18· · · · A· · Yes.

 19· · · · Q· · Does that include ROK shipments?

 20· · · · A· · Yes.

 21· · · · Q· · It does?· Okay.· Does it include shipments to

 22· ·Circuitronix Hong Kong?

 23· · · · A· · Yes.

 24· · · · Q· · So this analysis includes both Circuitronix

 25· ·USA and Circuitronix Hong Kong?


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 ·1· · · · A· · Yes.

 ·2· · · · Q· · So you looked at the total amount of product

 ·3· ·shipped in Benlida's records and ROK's records from the

 ·4· ·time period, and it was $156 million and change,

 ·5· ·correct?

 ·6· · · · A· · Which one?

 ·7· · · · Q· · The top one.

 ·8· · · · A· · Yes.

 ·9· · · · Q· · And then you looked at the second one.· How

 10· ·much was paid through that same date, which is the

 11· ·second line, right?

 12· · · · A· · Yes.

 13· · · · Q· · That was $140 million?

 14· · · · A· · Yes.

 15· · · · Q· · And the difference between those numbers is

 16· ·something in the order of $15.7 million, correct?

 17· · · · A· · Sorry?

 18· · · · Q· · The difference between those numbers is about

 19· ·$15 million, give or take?

 20· · · · A· · Yes.

 21· · · · Q· · And then you subtracted the debit notes that

 22· ·you agree with, correct?

 23· · · · A· · Yes.

 24· · · · Q· · And that gives you the total of $11.5 million

 25· ·roughly?


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 ·1· · · · A· · Yes.

 ·2· · · · Q· · Okay.· And that is the amount of the invoiced

 ·3· ·amount that is in the Complaint?

 ·4· · · · A· · Yes.

 ·5· · · · Q· · Okay.· And then it says beneath that chart,

 ·6· ·"Per agreement not recognized as payment for shipments

 ·7· ·is $742,000," right?

 ·8· · · · A· · Yes.

 ·9· · · · Q· · And then it has a chart below it that breaks

 10· ·down that $742,000?

 11· · · · A· · Yes.

 12· · · · Q· · And some of those are from -- are ROK

 13· ·charges, correct?

 14· · · · A· · Yes.

 15· · · · Q· · And actually, if you remember, when we were

 16· ·looking at a previous spreadsheet on the computer, we

 17· ·saw these figures, the OSP 235,000 dollar payment,

 18· ·right?

 19· · · · A· · Yes.

 20· · · · Q· · So is this chart taken from that earlier

 21· ·spreadsheet that we were looking at on the computer

 22· ·screen from, I think, late 2019 when Benlida had looked

 23· ·at Circuitronix's numbers total time period?

 24· · · · A· · Sorry.· I cannot understand your question.

 25· · · · Q· · Okay.· Do you remember when we spent some


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